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                           UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA


UNITED STATES OF AMERICA                     :
                                             :
                 v.                          :       Case No.: 22-CR-00061-RBW
                                             :
JON NICHOLAS HENEGHAN                        :
                                             :
and                                          :
                                             :
CAROL O’NEAL KINCINSKI                       :
                                             :
                       Defendants.           :


                          NOTICE OF ATTORNEY APPEARANCE


        The United States of America, by and through its attorney, the United States Attorney for

the District of Columbia, informs the Court that the above-captioned matter is assigned to Assistant

United States Attorney, Kaitlin Klamann, who may be contacted by telephone at (202) 252-

6778 or by email at Kaitlin.klamann@usdoj.gov. This is notice of her appearance in this

matter on behalf of the United States. Ms. Klamann joins Mr. Phillips, who remains assigned

to the case.

                                                           Respectfully submitted,

                                                           MATTHEW M. GRAVES
                                                           United States Attorney
                                                           DC Bar No. 481052

                                                   By:     /s/ Kaitlin Klamann
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